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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     MARY ELLEN GRIFFITH,                       )
                                                  )
                      Plaintiff,                  )
v.                                                )       CIV-11- 1250-F
                                                  )
1.     POSITIVE CHANGES, LLC,                     )
                                                  )       JURY TRIAL DEMANDED
                      Defendant.                  )       ATTORNEY LIEN CLAIMED

                                       COMPLAINT

       COMES NOW THE PLAINTIFF, Mary Ellen Griffith, and for her Complaint

against the Defendant alleges and states as follows:

                                         PARTIES

       1.      The Plaintiff is Mary Ellen Griffith, an adult female resident of Cleveland

County, Oklahoma.

       2.      The Defendant is Positive Changes, LLC, an entity doing business in

Oklahoma County, Oklahoma.

                              JURISDICTION AND VENUE

       3.      This is a cause of action arising out of Plaintiff’s former employment with

Defendant and is based on the following claims: disability discrimination and retaliation in

violation of the Americans with Disabilities Act, Americans with Disabilities Amendments

Act (“ADAA”) and Oklahoma state law as embodied in the OADA; worker’s compensation

retaliation in violation of 85 O.S. §§ 5-7; and wrongful discharge in violation of state law

which prohibits terminating an employee for engaging in whistle-blowing activities.

       4.      Jurisdiction over Plaintiff’s federal causes of action is vested in this Court

under 28 U.S.C. § 1331.        This Court has supplemental jurisdiction over Plaintiff’s

corresponding state law claims as they arise out of the same core of operative facts as the


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federal claims and jurisdiction over them is vested in this Court under 28 U.S.C. § 1367(a).

       5.      Plaintiff has exhausted her administrative remedies as to the above-listed

claims by timely filing a Charge of Discrimination with the Equal Employment Opportunity

Commission (“EEOC”) on or about on or about January 28, 2011. Plaintiff received her

Dismissal and Notice of Rights letter from the EEOC dated on or about August 2, 2011 and

has timely filed this action within ninety (90) days of receipt of her notice of right to sue.

       6.      The Defendant is located and can be served in Oklahoma County and all acts

complained of occurred in or around Oklahoma County. Oklahoma County is located within

the Western District of the United States District Court of Oklahoma. Thus, venue is proper

in this Court under 28 U.S.C. § 1391(b).

                                STATEMENT OF FACTS

       7.      Plaintiff began her employment with Defendant on or about August 8, 2008

as a Therapist.

       8.      On or about August 26, 2010, Plaintiff sustained an on-the-job injury to her

back while aiding a patient. Plaintiff retained an attorney to assist her in filing a workers

compensation claim.

       9.      On or about September 8, 2010, Plaintiff was asked to meet with CEO Laura

Balliet-Box and Human Resources representative Julie Eubanks regarding her workers

compensation claim. During the meeting, Plaintiff was asked several questions regarding

why she hired an attorney to handle her claim. Further, Eubanks advised Plaintiff of her “at-

will” employment status.

       10.     On or about September 17, 2010, Plaintiff was asked by Defendant to sign a

Job Description/Competency Evaluation. Such document reflected a fifty (50) lbs. lifting

requirement for Plaintiff’s position. Plaintiff had not previously been informed of a lifting


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requirement for the position. Further, such requirements were outside Plaintiff’s light duty

medical restrictions, as Plaintiff was previously placed on a twenty-five (25) lbs. lifting

restriction due to her on-the-job injury.

         11.   On or about October 28, 2010, Plaintiff was written up by Box for allegedly

using an improper hold with a client. Such allegations were false. Plaintiff witnessed and

documented the hold in question, but did not participate in the conduct. Further, no

investigation was conducted on this matter, as required by law. Plaintiff had not previously

been written up in her employment with Defendant.

         12.   Shortly thereafter, Plaintiff was told by Box that Plaintiff would no longer be

allowed to treat patients after 5:00 p.m. or on weekends, as Plaintiff had been doing

throughout her entire employment with Defendant. This significantly impeded Plaintiff’s

ability to treat patients, as many of them could not meet with Plaintiff during normal business

hours.

         13.   On or about November 19, 2010, Plaintiff received a negative performance

evaluation from Box and was placed on a ninety (90) day probation. Plaintiff had received

excellent performance evaluations throughout her employment. At that time, Box accused

Plaintiff of doing everything Plaintiff could to make her (Box) get rid of Plaintiff. Plaintiff

told Box that this was not true. However, the discipline of Plaintiff was upheld by Box.

         14.   During this meeting, Plaintiff further requested a reasonable accommodation

from Box. Specifically, Plaintiff asked that Box temporarily reduce her case load because

Plaintiff continued to experience pain from her on-the-job injury. Box stated she would look

into reducing Plaintiff’s case load, however, Plaintiff’s case load was not reduced.

         15.   Due to her medical condition, Plaintiff is a qualified individual with a disability

within the meaning of the Americans with Disabilities Act and Oklahoma state law in that


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she was disabled, had a record of a disability, and/or was perceived as disabled. Her

disability substantially limits and/or limited Plaintiff in one or more of her major life

activities, including but not limited to walking, sitting, standing and sleeping. However, at

all times relevant hereto, Plaintiff was able to perform the essential functions of her job with

or without reasonable accommodations.

       16.    On or about November 23, 2010, Plaintiff was written up by Box for allegedly

being late to submit treatment plans, thereby violating LPC rules and regulations by failure

to comply resulting in abandonment of her clients. Again, such allegations were false. Box

asked Plaintiff to write treatment plans for clients that Plaintiff had not previously evaluated

due to her restricted schedule. Creating treatment plans for clients Plaintiff had not evaluated

was a violation of ethics and Plaintiff’s license. Therefore, Plaintiff could not write the

treatment plans Box requested.

       17.    Due to the aforementioned discrimination, harassment and retaliation, Plaintiff

was compelled to resign on or about January 3, 2011.

       18.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered

injuries as described below.

                                   COUNT I - Disability

       For her first cause of action, Plaintiff incorporates all prior allegations and further

alleges and states as follows:

       19.     Discrimination based on a record of a disability, being perceived as disabled,

or being disabled is contrary to the ADA, ADAA and 25 O.S. § 1901, et seq.

       20.     As a direct and proximate result of the Defendant’s actions, Plaintiff has

suffered lost income, past and future, emotional distress and other non-pecuniary losses.

       21.    Because the actions of the Defendant were willful, wanton or, at the least, in


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reckless disregard of Plaintiff’s rights, Plaintiff is entitled to punitive damages as provided

by the Civil Rights Act of 1991.

                    COUNT II - Workers Compensation Retaliation

       For her second cause of action, Plaintiff incorporates all prior allegations and further

alleges and states as follows:

       22.     Retaliation based on the filing of worker’s compensation claim is contrary to

Oklahoma state law via 85 O.S. §§ 5-7.

       23.     As damages, Plaintiff has suffered lost earnings, past and future, and emotional

distress.

       24.     Because the actions of the Defendant were willful, wanton or, at the least, in

reckless disregard of Plaintiff's rights, Plaintiff is entitled to punitive damages for the

worker’s compensation retaliation claim.

                                 COUNT III - Whistleblowing

       For her third cause of action, Plaintiff incorporates all prior allegations and further

alleges and states as follows:

       25.     The acts above-described also constitute a violation of Oklahoma’s public

policy which prohibits wrongful termination and retaliation against a whistle-blower for

performing an act consistent with a clear and compelling public policy, i.e., refusing to

participate in an illegal activity; performing an important public obligation; exercising a legal

right or interest; exposing some wrongdoing by the employer; and performing an act that

public policy would encourage or, for refusing to do something that public policy would

condemn.

       26.     As damages, Plaintiff has suffered lost earnings, past and future, and other

compensatory damages.


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       27.    Because the actions of the Defendant were willful, wanton or, at the least, in

reckless disregard of Plaintiff’s rights, Plaintiff is entitled to punitive damages.

                                          PRAYER

       WHEREFORE Plaintiff respectfully prays that this Court enter judgment in favor

of the Plaintiff and against the Defendant and award compensatory damages, punitive

damages, liquidated damages, together with any appropriate equitable relief, pre- and post-

judgment interest, costs and attorney's fees.

              Respectfully submitted this 28th day of October, 2011.




                                                    s/Jana B. Leonard
                                                    JANA B. LEONARD, OBA # 17844
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                                                    ATTORNEY LIEN CLAIMED
                                                    JURY TRIAL DEMANDED




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